           Case 2:22-cv-00273-JAM-DB Document 41 Filed 05/31/24 Page 1 of 4


 1   Richard W. Osman, State Bar No. 167993                David M. Helbraun, State Bar No. 129840
     Sheila D. Crawford, State Bar No. 278292              HELBRAUN LAW FIRM
 2   Corey C. Wilson, State Bar No. 332800                 The Mills Building
     BERTRAND, FOX, ELLIOT, OSMAN & WENZEL                 220 Montgomery Street, Suite 1100
 3
     The Waterfront Building                               San Francisco, California 94111
 4   2749 Hyde Street                                      Telephone: (415) 982-4000
     San Francisco, California 94109                       Email: dmh@helbraunlaw.com
 5   Telephone: (415) 353-0999
     Facsimile: (415) 353-0990
 6   Email: rosman@bfesf.com
            scrawford@bfesf.com
 7
            cwilson@bfesf.com
 8
     Attorneys for Defendants                              Attorney for Plaintiff
 9   C. SPENCER, C. BAILEY, D. BAXLEY, M. TAYLOR,          ANTHONY PAZMINO
     R. VALLIMONT, J. CRISTE, S. KELLY, J. OUTLY,
10   K. CORDONA
11
                                 UNITED STATES DISTRICT COURT
12
                                EASTERN DISTRICT OF CALIFORNIA
13
     ANTHONY PAZMINO, et al.,                    Case No. 2:22-cv-00273-JAM-DB
14
          Plaintiff,                             SECOND STIPULATION TO CONTINUE
15                                               PRETRIAL DEADLINES
     v.
16                                               ORDER MODIFYING PRETRIAL
17   CITY OF VACAVILLE, VACAVILLE                SCHEDULING ORDER (ECF 40)
     POLICE DEPARTMENT, VACAVILLE
18   POLICE CHIEF IAN SCHMUTZLER,
     OFFICER COLE SPENCER, OFFICER
19   CHARLES BAILEY, OFFICER DANIEL
     BAXLEY, OFFICER MATTHEW TAYLOR,
20   OFFICER RALPH VALLIMONT, OFFICER
21   JAMES CRISTE, OFFICER SEAN KELLY,
     OFFICER JESSE OUTLY, SGT. KATHLEEN
22   CORDONA, et al.,

23        Defendants.
24

25

26

27

28



                ORDER MODIFYING PRETRIAL SCHEDULING ORDER Case No. 2:22-cv-00273-JAM-DB
            Case 2:22-cv-00273-JAM-DB Document 41 Filed 05/31/24 Page 2 of 4


 1          IT IS HEREBY STIPULATED, and respectfully requested, by and between Plaintiff ANTHONY

 2   PAZMINO (“Plaintiff”) and Defendants OFFICER COLE SPENCER, OFFICER CHARLES BAILEY,

 3   OFFICER DANIEL BAXLEY, OFFICER MATTHEW TAYLOR, OFFICER RALPH VALLIMONT,

 4   OFFICER JAMES CRISTE, OFFICER SEAN KELLY, OFFICER JESSE OUTLY, SGT. KATHLEEN

 5   CORDONA (“Defendants”) (hereinafter, “the Parties”) by and through their designated counsel, that the

 6   Pretrial Scheduling Orders (Dkt. Nos. 35 and 38) in this matter be modified as detailed below to

 7   accommodate the Parties’ attempts to resolve this matter.

 8          WHEREAS, on September 13, 2023, the Court issued the Pretrial Scheduling Order in this matter

 9   (Dkt. No. 35);
10          WHEREAS, on September 13, 2023, this matter was referred to Magistrate Judge Deborah
11   Barnes for settlement proceedings (Dkt. No. 36);
12          WHEREAS, on February 2, 2024, the Court granted the Parties’ stipulation to continue expert
13   discovery deadlines (Dkt. No. 38) to provide time for the Parties to complete fact discovery and attend a
14   settlement conference before experts were disclosed;
15          WHEREAS, a settlement conference has been scheduled for June 27, 2024 with Magistrate Judge
16   Barnes (Dkt. No. 39);
17          WHEREAS, the Parties have completed multiple depositions and believe they are adequately
18   prepared to attend the conference and discuss resolution. The Parties would like to continue fact and
19   expert discovery as well as the dispositive motion deadlines to provide time to attend the settlement
20   conference before incurring fees and costs associated with additional discovery and motion practice; and
21          WHEREAS, the requested modifications will not otherwise impact the trial date.
22                                               STIPULATION
23          NOW, THEREFORE, the Parties STIPULATE TO and JOINTLY REQUEST that this Court

24   continue the expert discovery deadlines as follows:

25                Event                         Current Deadline                   Proposed Deadline
26           Discovery Cutoff                       7/19/2024                           8/19/2024
27          Expert Disclosures                      9/2//2024                           10/2/2024
28


                                                           1
                 ORDER MODIFYING PRETRIAL SCHEDULING ORDER Case No. 2:22-cv-00273-JAM-DB
            Case 2:22-cv-00273-JAM-DB Document 41 Filed 05/31/24 Page 3 of 4


 1    Disclosure of Rebuttal Experts                 9/23/2024                           10/23/2024
 2   L/D to File Dispositive Motions                 9/13/2024                           11/1/2024
 3     Dispositive Motion Hearing                    11/5/2024                           12/5/2024
 4    Pretrial Conference Statement                   1/7/2025                           No Change
 5       Final Pretrial Conference                   1/14/2025                           No Change
 6               Jury Trial                          2/24/2025                           No Change
 7
     Dated: May 28, 2024                               BERTRAND, FOX, ELLIOT, OSMAN & WENZEL
 8

 9
10                                                     By: /s/ Richard W. Osman
                                                           Richard W. Osman
11                                                         Sheila D. Crawford
                                                           Corey C. Wilson
12
                                                              Attorneys for Defendants
13                                                            C. SPENCER, C. BAILEY, D. BAXLEY, M.
                                                              TAYLOR, R. VALLIMONT, J. CRISTE, S.
14                                                            KELLY, J. OUTLY, K. CORDONA

15
     Dated: May 28, 2024                               HELBRAUN LAW FIRM
16

17

18                                                     By: /s/ David Helbraun
                                                           David Helbraun
19                                                         Attorney for Plaintiff
                                                           ANTHONY PAZMINO
20

21                              ELECTRONIC CASE FILING ATTESTATION
22          I, Richard W. Osman, hereby attest that I have on file all holograph signatures for any signatures
23   indicated by a conformed signature (“/s/”) within this E-filed document or have been authorized by
24   counsel to show their signature on this document as /s/.
25   Dated: May 28, 2024                  BERTRAND, FOX, ELLIOT, OSMAN & WENZEL
26                                                /s/ Richard W. Osman
                                                  Richard W. Osman
27

28


                                                          2
                 ORDER MODIFYING PRETRIAL SCHEDULING ORDER Case No. 2:22-cv-00273-JAM-DB
               Case 2:22-cv-00273-JAM-DB Document 41 Filed 05/31/24 Page 4 of 4


 1                            ORDER MODIFYING PRETRIAL SCHEDULING ORDER

 2             Pursuant to the parties’ stipulation, and good cause appearing, the Pretrial Scheduling Order is

 3   MODIFIED as follows:

 4                    Event                             Current Deadline                           New Deadline
 5              Discovery Cutoff                             7/19/2024                               08/19/2024
 6             Expert Disclosures                            9/2//2024                               10/02/2024
 7       Disclosure of Rebuttal Experts                      9/23/2024                               10/23/2024
 8         Dispositive Motion Filing                         9/13/2024                               11/01/2024
                   Deadline
 9
          Dispositive Motion Hearing                         11/5/2024                      01/07/2025, at 01:00 p.m. 1
10
     Joint Mid-Litigation Statement                                                      Fourteen (14) days prior to the
11          Filing Deadline:                                                                   close of discovery
        Joint Pretrial Statement                              1/7/2025                             02/27/2025
12
          Final Pretrial Conference                          1/14/2025                      03/07/2025, at 11:00 a.m.
13
             Jury Trial (5-7 Days)                           2/24/2025                      04/28/2025, at 09:00 a.m.
14

15
     IT IS SO ORDERED.
16
     Dated: May 30, 2024                              /s/ John A. Mendez
17
                                                      THE HONORABLE JOHN A. MENDEZ
18                                                    SENIOR UNITED STATES DISTRICT JUDGE
19
20

21

22

23

24

25

26

27

28   1
         Calendars are subject to last minute changes. Contact the Courtroom Deputy for available dates.


                                                                  3
                     ORDER MODIFYING PRETRIAL SCHEDULING ORDER Case No. 2:22-cv-00273-JAM-DB
